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From:             Christina V. Rayburn
To:               Spencer Hosie; drice@hosielaw.com; Darrell R. Atkinson
Cc:               Moez M. Kaba; Amazon/MasterObjects [INT]
Subject:          MasterObjects/Amazon Trial Date
Date:             Monday, August 8, 2022 11:03:49 AM


Dear Spencer,

The judge’s recent scheduling changes, advancing the pretrial conference date to October 5, 2022
and the trial date to October 11, 2022, create conflicts with previously scheduled trials for both
Amazon’s lead counsel in this matter, Moez and myself.

Moez is lead trial counsel in a trial scheduled to begin in Los Angeles Superior Court on September
26, 2022. That trial is expected to last at least through October 14. The case is Don Lee Farms v.
Savage River, Inc., Case No. BC662838.

I am lead trial counsel in a trial scheduled to begin in San Francisco Superior Court on October 3,
2022. That trial is expected to last for 5 days, through October 7. The case is New Pacific Hotel Inc.
v. Sonder USA Inc., Case No. CGC-20-586949.

Based on the above, we intend to request a continuance of the pretrial conference and trial dates to
a date after the previously-scheduled trial, rather than before. Would you agree to such a
continuance? Assuming yes, can you please work with us to propose some alternate dates for trial?
We understand that the Meta trial is currently scheduled for November 7, 2022. Based on
scheduling in our own case, we assume that the Court will set that trial for eight consecutive days,
through November 16, 2022. Other than that, do you have trial conflicts between November 2022
and February 2023?

Best,
Christy



 Christina V. Rayburn    ​




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